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    1   ARASH SADAT (SBN 279282)
        arash@sadatlawgroup.com
    2   SADAT LAW GROUP
        333 South Hope Street, 40th Floor
    3   Los Angeles, CA 90071
        Telephone: (213) 613-9434
    4   Facsimile: (213) 613-0550
    5   Attorneys for Amicus Curiae
        Ministry of Economy, Trade and Industry of Japan
    6
    7
                             UNITED STATES DISTRICT COURT
    8
                            CENTRAL DISTRICT OF CALIFORNIA
    9
                                      WESTERN DIVISION
   10
   11                                            Case No.: 2:15-cv-04194-DDP-JC
        MARK STOYAS, NEW ENGLAND
   12   TEAMSTERS & TRUCKING                     AMICUS BRIEF OF
        INDUSTRY PENSION FUND, and               MINISTRY OF ECONOMY,
   13                                            TRADE AND INDUSTRY OF
        AUTOMOTIVE INDUSTRIES
                                                 JAPAN
   14   PENSION TRUST FUND, individually
        and on behalf of all others similarly
   15
        situated,
   16
                        Plaintiffs,
   17
               v.
   18
        TOSHIBA CORPORATION, a
   19
        Japanese Corporation,
   20
                        Defendant.
   21
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   23
   24
   25
   26
   27
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                                                                       AMICUS BRIEF OF METI;
                                                                  CASE NO. 2:15-cv-04194-DDP-JC
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    1         INTEREST OF THE AMICUS
    2         The Ministry of Economy, Trade and Industry is a ministry of the
    3 government of Japan. Its mission includes developing Japan’s economy and
    4 industry by focusing on promoting economic vitality in private companies and
    5 smoothly advancing external economic relationships.
    6         The defendant in this case is a Japanese company whose shares are listed
    7 only in the Japanese market. The defendant has been subjected to claims in this
    8 Court for monetary damages, including under Japanese law, for misstatements
    9 made in Japan.
   10         The Ministry of Economy, Trade and Industry of Japan is seriously
   11 concerned regarding the political, legal and economic implications of this case on
   12 Japanese issuers, industries and the Japanese economy. The Ministry of Economy,
   13 Trade and Industry is also greatly concerned about the impact of the adjudication of
   14 claims under Japanese securities laws in a United States class action under the
   15 circumstances of this case.
   16         ARGUMENT
   17         The plaintiffs’ claims against the defendant, which does not list or distribute
   18 its shares in the United States, include claims under the Japanese Financial
   19 Instruments and Exchange Act (“JFIEA”). For the following reasons, the Ministry
   20 of Economy, Trade and Industry hopes that these claims based in Japanese law will
   21 be adjudicated in the Japanese courts rather than the United States courts.
   22         A.     The Adjudication of the JFIEA Claims in United States Class
   23                Action May Damage Japanese Issuers and Japan’s Industries
   24         The Ministry of Economy, Trade and Industry is concerned that subjecting
   25 companies listed solely on Japanese stock exchanges to class action securities
   26 litigation in the United States, where the companies neither list nor distribute their
   27 securities, may damage the development of the Japanese capital market and
   28 discourage investment in Japan. These concerns will deepen even further if United
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                                                                               AMICUS BRIEF OF METI;
                                                                          CASE NO. 2:15-cv-04194-DDP-JC
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    1 States courts issue an adverse judgment against the defendant based on the JFIEA
    2 in this case.
    3         Specifically, the Ministry of Economy, Trade and Industry is concerned that
    4 investors would be motivated to file suit and seek a judgment regarding their claims
    5 under Japanese laws such as JFIEA in the United States, rather than Japan, as
    6 collective-action procedures do not apply to claims brought in Japan under Article
    7 21-2 of the JFIEA. Investors may see the United States litigation system, including
    8 its class action system, extensive discovery procedures, and trial by a non-
    9 professional jury, as highly favorable to plaintiffs. Eventually, there could be many
   10 plaintiffs who file suit without a reasonable examination of the legitimacy of their
   11 cases, some of which might even be abusive litigation.
   12         Additionally, companies listed only in Japan could not have anticipated that
   13 securities litigation based on the JFIEA would be brought and adjudicated against
   14 them in both Japan and countries other than Japan at the time they became listed on
   15 a stock exchange in Japan. Accordingly, they did not become listed in Japan with
   16 this risk in mind. Parallel litigation in multiple countries may force those companies
   17 to pay legal defense fees much higher than those normally incurred when litigation
   18 is limited to only the Japanese courts and to devote massive administrative and
   19 human resources to discovery compliance. These heavy costs and burdens are
   20 totally unforeseeable for those Japanese companies, and against the background of
   21 that threat, they may also be forced to accept high settlement demands.
   22         Furthermore, if additional unsponsored ADRs that reference Japanese
   23 companies not listed in the United States are created as a result of precedent
   24 allowing JFIEA suits to be filed in the United States against them, such companies
   25 will be further hampered by an increase in this foreign litigation risk over which
   26 they have no control.
   27         In addition, if cases such as this one are adjudicated in the United States, it is
   28 possible that inconsistencies will arise between the decisions of the courts of the
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                                                                                AMICUS BRIEF OF METI;
                                                                           CASE NO. 2:15-cv-04194-DDP-JC
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    1 United States and those of Japanese courts. This may eventually damage the legal
    2 certainty regarding the JFIEA’s application.
    3         For all these reasons, businesses listed on the Japanese markets may become
    4 more conservative in terms of their corporate fundraising and in other matters, and
    5 such may also interfere with the development of Japanese industries and the
    6 Japanese economy.
    7         B.     Investors Can File a Suit Against the Defendant in Japan
    8         Additionally, it is important to note that the Japanese court system is fully
    9 available for investors of any nationality to seek relief for claims such as these.
   10 Numerous lawsuits for damages for misstatements in securities disclosures have
   11 been brought under Article 21-2 of the JFIEA. In fact, there are already cases in the
   12 Japanese courts regarding foreign investors’ claims under this provision against the
   13 defendant in this case. Furthermore, there are several judicial precedents in Japan in
   14 which investors, including foreign investors, have sued and successfully recovered
   15 damages from Japanese companies which made misstatements.
   16         CONCLUSION
   17         For the foregoing reasons, based upon concerns regarding the Japanese
   18 companies, industries and economy, and the legal certainty of Japan’s securities
   19 laws, the Ministry of Economy, Trade and Industry of Japan wishes that the claims
   20 under Japanese law in this class action securities litigation case will be adjudicated
   21 in Japanese courts rather than United States courts, under principles of international
   22 comity and forum non conveniens.
   23 Dated: April 29, 2021
                                                  SADAT LAW GROUP
   24
                                                  By:_/s/ Arash Sadat        ________
   25                                                    Arash Sadat
   26
                                                  Attorneys for Amicus Curiae
   27                                             Ministry of Economy, Trade and
   28                                             Industry of Japan
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                                                                               AMICUS BRIEF OF METI;
                                                                          CASE NO. 2:15-cv-04194-DDP-JC
